                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

BRILLIANT DPI, INC.,

        Plaintiff,

v.                                                            Case No.:

KONICA MINOLTA BUSINESS
SOLUTIONS, U.S.A., INC.,
KONICA MINOLTA PREMIER FINANCE,
ELECTRONICS FOR IMAGING, INC., and
CIT TECHNOLOGY FINANCING SERVICES, INC.,

      Defendants.
______________________________________________________________________________

                PLAINTIFF’S COMPLAINT AND JURY DEMAND
______________________________________________________________________________

        COMES NOW Plaintiff Brilliant DPI, Inc., by its attorneys, Crivello Carlson, S.C, and

for its Complaint against Defendants Konica Minolta Business Solutions U.S.A., Inc., Konica

Minolta Premier Finance, Electronics For Imaging, Inc., and CIT Technology Financing

Services, Inc., states as follows:

                                             PARTIES

        1.      Plaintiff, Brilliant DPI, Inc., (hereinafter “Brilliant”) is a Wisconsin Corporation,

specializing in digital imaging graphics, with its principal place of business located at company

located at 6651 North Sidney Place, Milwaukee, Wisconsin 53209.

        2.      Defendant Konica Minolta Business Solutions U.S.A., Inc. (hereinafter “KMBS”)

is a foreign corporation organized under the laws of New York with its principal place of

business in New Jersey. Defendant KMBS is authorized to do business in Wisconsin and has a




          Case 2:18-cv-00799-WED Filed 05/24/18 Page 1 of 16 Document 1
resident, registered agent of Corporation Service Company, 8040 Excelsior Drive, Madison,

Wisconsin 53717.

         3.    Defendant Konica Minolta Premier Finance (hereinafter “KMPF”) is a foreign

corporation organized under the laws of New York with its principal place of business in New

Jersey. KMPF is authorized to do business to do business in Wisconsin and has a resident,

registered agent of Corporation Service Company, 8040 Excelsior Drive, Madison, Wisconsin

53717.

         4.    Defendant Electronics For Imaging, Inc. (hereinafter “EFI”) is a foreign

corporation organized under the laws of Delaware with, upon information and belief, a principal

place of business located at 6750 Dumbarton Cir, Fremont, CA 94555 and a registered agent of

The Corporation Trust Company, located at 1209 N. Orange St, Wilmington, DE 19801. It is not

alleged that EFI is authorized to do business in the state of Wisconsin.

         5.    Defendant CIT Technology Financing Service, Inc. (hereinafter “CIT”) is a

foreign corporation organized under the laws of Massachusetts with its principal place of

business in Livingston, New Jersey. CIT is authorized to do business to do business in Wisconsin

and has a resident, registered agent of Corporation Service Company, 301 S. Bedford St. Suite 1

Madison, WI 53703.

         6.    This action is brought for Fraudulent Representations under Wisconsin’s

Deceptive Trade Practices Act, Negligent Misrepresentation, Intentional Misrepresentation/

Fraudulent Inducement, Intentional Interference with Business Relations, Breach of Contract,

Breach of the Implied Warranty of Fitness, Breach of the Implied Warranty of Merchantability,

Res Ipsa Loquitur. The Complaint also seeks certain declaratory relief. Each cause of action is

brought under Wisconsin Law.



                                                 2

          Case 2:18-cv-00799-WED Filed 05/24/18 Page 2 of 16 Document 1
                                        JURISDICTION

       7.      Jurisdiction is proper pursuant to 28 U.S.C. § 1332 because there is complete

diversity between the parties and the amount in controversy exceeds $75,000.00.

       8.      This Court may exercise personal jurisdiction over the parties because the acts

and omissions alleged herein occurred in the State of Wisconsin.

       9.      Since one or more of the events giving rise to this action occurred within this

Court’s district, venue is proper pursuant to 28 U.S.C. § 1391.

                                  COMMON ALLEGATIONS

       10.     Brilliant is a family-owned and operated graphics company with over fifty years

of experience in digital imaging and offset printing. Plaintiff is engaged in the business of

professional business printing and prints a variety of projects for business and individuals.

       11.     KMBS is a foreign corporation in the business of selling and distributing office

automation services to business and KMBS employs sales representatives in Wisconsin and does

substantial and continuous business in the state.

       12.     KMPF is a subset of KMBS and offers financing and business solutions to

customers wishing to lease expensive office equipment. As it relates to this present action,

KMPF and KMBS will sometimes herein be referred to jointly as “Konica.”

       13.     At all times relevant hereto, Plaintiff has interacted with Konica representatives in

relation to the deficiencies of the subject printer, while it has dealt with CIT Technology

Financing Services, Inc. (“CIT”) with respect to lease payments.

       14.     In July of 2015, Plaintiff and Konica representatives stationed in Waukesha,

Wisconsin entered into discussions regarding the leasing of a mid-level production flatbed LED




                                                    3

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 3 of 16 Document 1
printer. Plaintiff sought out such equipment in an effort to expand the printing services it could

offer to its customers.

        15.     Plaintiff expressed to Konica representatives its desires to be able to print on

high-value, specialty rigid and inflexible substrates.

        16.     With these desires in mind, Konica representatives selected, recommended, and

offered to Plaintiff      the H1625 LED Wide Format Printer manufactured by EFI (“subject

printer”). In selecting and recommending the EFI H1625, Konica made specific representations

to the Plaintiff, among other things, that the subject printer would be able to print on high-value,

specialty rigid and inflexible substrates and in the manner specifically described by the Plaintiff.

        17.     Relying on the recommendation of the EFI H1625 and representations of Konica,

on or about July of 2015, Plaintiff and KMPF entered into an equipment lease agreement

(hereinafter “the original lease”) to finance the purchase of the EFI H1625.

        18.     Upon information and belief, all or part of the original lease was assigned to CIT.

        19.     Subsequent to execution of the original lease, the subject printer was delivered to

Plaintiff’s place of business and Plaintiff’s employees were trained by Konica technicians on

both the operational use and cleaning procedures associated with the subject printer.

        20.     Almost immediately after the delivery of the subject printer, Plaintiff began

experiencing problems with the subject printer.

        21.     Plaintiff immediately notified Konica about the problem, including issues related

to the inks, cartridges, and the circuit panel in the subject printer.

        22.     The explanations for the defective performance of the subject printer were many

and varied; and, the EFI and Konica technicians attempted several avenues of troubleshooting

and service on the machine, to no avail.



                                                   4

          Case 2:18-cv-00799-WED Filed 05/24/18 Page 4 of 16 Document 1
          23.   Representatives from Konica and EFI explained to Plaintiff that subject printer

had been having a lot of problems and that they had received multiple complaints from users all

over the mid-west; and, at numerous times relevant hereto, Brilliant DPI’s principal has had

discussions with other printer companies that cited the same problems and complaints related to

the subject EFI H1625 equipment.

          24.   After nearly a year of engaging with EFI and Konica representatives and

technicians regarding the deficiencies in the subject printer, representatives of EFI and/or Konica

determined that the subject printer was, in fact, defective and replaced the subject printer with an

entirely new machine(hereinafter “the replacement printer”).

          25.   At that time, the July, 2015 Lease agreement was rescinded and on October 27,

2016, executed a new lease (the “Lease”); although the face of the Lease declares it is a “finance

lease,” the facts and circumstances surrounding its execution belie its character as a “finance

lease.”

          26.   Subsequent to the execution of the Lease, and upon information and belief, all or

part of the Lease was assigned to CIT.

          27.   Shortly after being provided with a replacement printer, concerns persisted with

the replacement printer, including issues relating ink streaking and color deficiencies.

          28.   Plaintiff again continued to contact Konica Technicians to resolve issues with the

replacement printer, including issues related to color ink temperatures, white gaps in the lines,

and solid magenta bars, bad print quality, and a plethora of other issues. Attached hereto as

Exhibit A are true and correct copies of screen shots of conversations between Plaintiff’s

employees and Konica technicians.




                                                 5

           Case 2:18-cv-00799-WED Filed 05/24/18 Page 5 of 16 Document 1
       29.     The communications in Exhibit A show the multiple attempts made by Plaintiff’s

employees to fix the problems with the replacement printer.

       30.     Ultimately, it was determined that the replacement EFI H1625 printer was unable

to produce marketable materials and the defective original and subsequent defective replacement

printer have negatively impacted Plaintiff’s business as customers have refused to pay for the

defective projects. Among several examples of this, attached as Exhibit B is an email exchange

between Ms. Christy Kapellen, a Senior Designer with Plaintiff’s customer, Printmax, and Ms.

L.J Cooper, Plaintiff’s Director of Production and Design.

       31.     The failures of the original and replacement EFI H1625 printer were immediate,

ongoing and promptly reported to Konia and EFI.

       32.     The failures caused significant delays in Plaintiff’s purchase orders and severely

impacted the quality of work Plaintiff was able to produce.

       33.     These failures caused Plaintiff to lose substantial revenue and customers. In

addition, these failures prevented Plaintiff from ultimately receiving pledged contracts or jobs in

light of the failures of the EFI H1625 printer.

       34.     Upon information and belief, Konica and EFI were aware that the EFI H1625

printer model had widespread defects. Further, Konica was aware that many of the

representations it made with respect to the EFI H1625 printer and its capabilities were false; and

the defects were the result of the EFI H1625 manufacture and/or design. Plaintiff requested that

Konica and EFI remedy the problems with the EFI H1625 and neither Konica nor EFI were able

to remedy the problems.

       35.     Plaintiff did not receive the printer it bargained for with Konica.




                                                  6

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 6 of 16 Document 1
                                   CAUSE OF ACTION NO. 1

    Fraudulent Misrepresentations Against Konica Under Wisconsin’s Deceptive Trade
                           Practices Act, Wis. Stat. § 100.18

       36.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 35.

       37.     Prior to July of 2015, Plaintiff began discussion with representatives from Konica,

operating out of Waukesha, Wisconsin, regarding leasing options for commercial grade printers.

       38.     During those interactions, Plaintiff expressly explained to Konica representatives

that the Plaintiff wished to expand the services it could offer to its customers and wanted to be

able to print on high-value specialty rigid and inflexible surfaces.

       39.     In response to Plaintiff’s desires Konica representatives selected, recommended,

and offered to the Plaintiff the H1625 LED Wide Format Printer manufactured by EFI.

       40.     However, not only did Konica select and recommend the EFI printer, but also it

made specific representations to the Plaintiff that the printer would be able to print on high-

value, specialty rigid and inflexible surfaces in such a way as to produce marketable materials in

the manner specifically described by Plaintiff.

       41.     Upon information and belief, Konica, with the intent of inducing Brilliant to enter

the equipment lease, made assertions, representations and statements of fact regarding the

capabilities of the EFI Printer that were untrue, deceptive and misleading.

       42.     Plaintiff entered into the Lease for the subject printer relying on the

representations made by Konica representatives.

       43.     The original printer was defective and the replacement printer had the same

defects. And, as a result of Konica’s Fraudulent Misrepresentations, Plaintiff has lost has lost

certain business, and has incurred damages including lost payments, fees, interest and revenue.

                                                  7

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 7 of 16 Document 1
                                  CAUSE OF ACTION NO. 2

                     Negligent Misrepresentation Against Konica Minolta

       44.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 43.

       45.     After nearly a year of engaging with EFI and Konica representatives and

technicians regarding the deficiencies in the original EFI H1625 printer, representatives of EFI

and/or Konica determined that the subject printer was, in fact, defective and replaced the EFI

H1625 with an entirely new machine.

       46.     In selecting and recommending the replacement EFI H1625, Konica made

specific representations to the Plaintiff, among other things, that the replacement printer would

be able to print on high-value, specialty rigid and inflexible substrates in the manner specifically

described by Plaintiff.

       47.     At that time, Konica and Plaintiff agreed to a rescission of the lease executed in

July 2015 and executed the current lease on or about October 27, 2016 (the “Lease”).

       48.     Upon information and belief, Konica and EFI had received multiple complaints

about the defect of the EFI H1625 printer from several other companies and Konica and EFI

technician had served multiple EFI H1625 printers and were aware of the defect prior to

executing the October 27, 2016 Lease.

       49.     Plaintiff entered into the October 27, 2016 Lease for the subject printer relying on

the representations made by Konica representatives.

       50.     As a result of Konica’s Negligent Misrepresentations, Plaintiff has lost has lost

certain business, and has incurred damages including lost payments, fees, interest and revenue.




                                                 8

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 8 of 16 Document 1
                                  CAUSE OF ACTION NO. 3

       Intentional Misrepresentation/Fraudulent Inducement Against Konica Minolta

        51.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 50.

        52.     Prior to July of 2015, Plaintiff began discussion with representatives from Konica

Minolta operating out of Waukesha, Wisconsin regarding leasing options for commercial grade

printers.

        53.     During those interactions, Plaintiff expressly explained to Konica representatives

that Plaintiff wished to expand the services it could offer to its customers and wanted to be able

to print on high-value specialty rigid and inflexible surfaces. In response to Plaintiff’s desires

Konica representatives selected, recommended, and offered to Plaintiff the H1625 LED Wide

Format Printer manufactured by EFI.

        54.     Konica, with the intent of inducing Brilliant to enter the Original Lease and the

Lease, made assertions, representations and statements of fact regarding the capabilities of the

EFI Printer that were untrue, deceptive and misleading.

        55.     Plaintiff entered into the Original Lease and the Lease for the subject printer due

to the representations made by Konica representatives.

        56.     The original H1625 printer was defective and the replacement H1625 printer had

the same defects; examples of such defects are set forth in Exhibit B.

        57.     As a result of Konica’s Fraudulent Inducement, Plaintiff has lost has lost certain

business, and has incurred damages including lost payments, fees, interest and revenue.




                                                 9

            Case 2:18-cv-00799-WED Filed 05/24/18 Page 9 of 16 Document 1
                                  CAUSE OF ACTION NO. 3

              Intentional Interference With Business Relations Against Konica

       58.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 57.

       59.     Plaintiff has contracts with its customers, under which plaintiff sells custom

printing services, layout, and graphic designs to its customers.

       60.     Konica was aware of these contracts and business relationships that Plaintiff had

with its customers and Konica was aware that Plaintiff was purchasing the equipment for the

purposes of offering these services and more to its customers.

       61.     Konica interfered with Plaintiff’s relationship with its customers by providing

Plaintiff a defective printer and failing to properly maintain and/or service the defective printer

when Konica became aware of the poor quality of work the printer was producing both from

Plaintiff and several other of its customers who had leased the same printer.

       62.     Konica intentionally interfered with Plaintiff’s business relationship and

prospective business relations by failing to provide a working printer and/or failing to provide

proper service to the printer with the full knowledge that such printer was defective and would

not perform as represented.

       63.     The failures caused significant delays in Plaintiff’s purchase orders and severely

impacted the quality of work Plaintiff was able to produce. In addition, and as a result of the

defective printer, Plaintiff lost numerous contracts, customers and accounts.

       64.     As a direct result of Konica’s failures Plaintiff has lost certain business, sustained

damages to business relationships and have incurred damages including lost payments, fees,

interest and revenue.



                                                10

        Case 2:18-cv-00799-WED Filed 05/24/18 Page 10 of 16 Document 1
                                   CAUSE OF ACTION NO. 4

                          Breach of Contract Against Konica Minolta

       65.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 64.

       66.     Plaintiff entered into a Premier Lease Agreement with Konica.

       67.     Prior to executing the Lease agreement, Plaintiff advised Konica representatives

that Plaintiff needed a printer that could print on high-value specialty rigid and inflexible

surfaces, which Plaintiff frequently used to fulfill orders for customers.

       68.     Konica understood Plaintiff’s needs and recommended the EFI H1625, which

Plaintiff ultimately leased.

       69.     Plaintiff performed its obligations under the Lease agreement by making all lease

payments owed until such time as Plaintiff was unable to continue making payments as a direct

and proximate result of the non-functioning state of the EFI H1625 printer.

       70.     Konica failed to perform their obligations under the Lease agreement in numerous

ways, including but not limited to:

               a.      Failing to maintain the EFI H1625 printer in good operating condition;

                       and

               b.      Failing to provide equipment that could be used by Plaintiff for the

                       Plaintiff’s stated purpose, which was known to KMBS and KMPF.

       71.     As a direct and proximate result of Konica’s breach, Plaintiff was damaged and

has suffered significant financial losses as a result of the limited functionality of the EFI H1625

printer and incurred substantial expenses as a result of its inability to use the EFI H1625 printer

to fulfill customer orders.



                                                 11

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 11 of 16 Document 1
                                   CAUSE OF ACTION NO. 5

                               Common Law Negligence Against EFI

          72.   Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 71.

          73.   Prior to July of 2015, EFI manufactured the EFI H1625 printer.

          74.   EFI owed a duty to the Plaintiff to design, manufacture, distribute and/or sell

printers that functioned and to warn the Plaintiff of any defects in the printer.

          75.   Upon information and belief, and based on the record, EFI was aware of the EFI

H1625 printers defects.

          76.   EFI breached its duty to Plaintiff by designing, manufacturing, distributing,

and/or selling the EFI H1625 printer, that was defective, and by failing to warn the Plaintiff of

such defect.

          77.   As a direct and proximate result of EFI’s Negligence, Plaintiff suffered significant

financial losses as a result of the limited functionality of the EFI H1625 printer and incurred

substantial expenses as a result of its inability to use the EFI H1625 printer to fulfill customer

orders.

                                   CAUSE OF ACTION NO. 6

                Breach Of Implied Warranty Of Merchantability Against EFI

          78.   Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 77.

          79.   At the time of purchase, EFI was in the business of manufacturing and

distributing printers for commercial and business printing projects.




                                                 12

           Case 2:18-cv-00799-WED Filed 05/24/18 Page 12 of 16 Document 1
       80.     As alleged herein, prior to July of 2015, EFI manufactured and distributed the EFI

H1625 printer to Konica, who thereafter sold the EFI H1625 to Plaintiff.

       81.     The product sold to Plaintiff was not reasonably fit for the ordinary purposes for

which it was used and was unable to complete the simple task of printing commercial projects.

       82.     Plaintiff suffered significant financial losses as a result of the limited functionality

of the EFI H1625 printer and incurred substantial expenses as a result of its inability to use the

EFI H1625 printer to fulfill customer orders.

       83.     The defective condition of EFI’s product was the cause of the Plaintiff’s damages.

                                  CAUSE OF ACTION NO. 7

       Breach of Implied Warranty Of Fitness For A Particular Purpose Against EFI

       84.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 83.

       85.     EFI had reason to know that Plaintiff was buying the product for the particular

purpose of printing commercial projects.

       86.     EFI knew or had reason to know that Plaintiff was relying on the Konica’s skill or

judgment to select and furnish a suitable product.

       87.     The EFI H1625 was unfit for the particular purpose Plaintiff bought it for.

       88.     The defective condition was a cause of Plaintiff’s damages.

                                  CAUSE OF ACTION NO. 8

                                 Res Ipsa LoquiturAgainst EFI

       89.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 88.




                                                 13

        Case 2:18-cv-00799-WED Filed 05/24/18 Page 13 of 16 Document 1
       90.     As alleged herein, prior to July of 2015, EFI manufactured and distributed the EFI

H1625 printer for the purpose of commercial and business printing projects.

       91.     Further, between July of 2015 and October 27, 2016, Plaintiff contacted EFI

technicians on numerous occasions regarding the issues with the printer and the deficient work it

was producing.

       92.     On October 27, 2016, EFI replaced the original EFI H1625 printer with the exact

same make and model printer.

       93.     Soon after its replacement, the EFI H1625 printer began having the same

problems as the original printer. The conduct and omissions of EFI are presumed negligence

because:

               a.     EFI was made aware of the deficiencies of the EFI H165 printer by

                      Plaintiff;

               b.     EFI was made aware of the deficiencies of the EFI H165 printer by several

                      other complaining parties across the Midwest;

               c.     The deficiencies caused significant delays in Plaintiff’s purchase orders

                      and severely impacted the quality of work Plaintiff was able to produce;

                      and

               d.     Plaintiff did not contribute to the deficiencies caused by the EFI H165.

       94.     As a direct and proximate result of EFI’s negligent acts and omissions, Plaintiff

was damaged.




                                               14

           Case 2:18-cv-00799-WED Filed 05/24/18 Page 14 of 16 Document 1
                                   CAUSE OF ACTION NO. 6

                                 Declaratory Relief Against CIT

        95.    Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

herein in paragraphs 1 – 94.

        96.    Upon information and belief, CIT was the lessor of the Lease Agreement between

Plaintiff and Konica.     Konica assigned certain its rights to payment due under the Lease

agreement to CIT. Neither the assignment contract itself, nor its terms have been disclosed to the

Plaintiff.

        97.    As explained above, Konica breached that agreement in various ways, which

prompted CIT to assert possessory rights over the EFI printer and the demand the reaming sum

of the lease agreement.

        98.    Therefore, Plaintiff is entitled to a declaration that Plaintiff is not liable to CIT for

any amounts allegedly owed through the lease agreement because of Konica’s breach.

        WHEREFORE, Plaintiff Brilliant DPI Inc. prays for a judgement against the Defendants

in excess of $75,000.00, for the full amount of payments and fees due it, along with pre-

judgment interest, attorney's fees, and for other such relief as the Court deems just and proper.

                                 REQUEST FOR JURY TRIAL

              Plaintiff respectfully requests a trial by 12-person jury in this matter.




                                                  15

         Case 2:18-cv-00799-WED Filed 05/24/18 Page 15 of 16 Document 1
      Dated this 24th day of May, 2018.

                                          CRIVELLO CARLSON, S.C.
                                          Attorneys for Plaintiff, Brilliant DPI, Inc.


                                          By:    George S. Peek
                                                 GEORGE S. PEEK
                                                 State Bar No. 1041648
                                                 JASMYNE M. BAYNARD
                                                 State Bar No. 1099898
Post Office Address:
710 N. Plankinton Avenue, Suite 500
Milwaukee, WI 53203
Phone: 414-271-7722
Email: gpeek@crivellocarlson.com
        jbaynard@crivellocarlson.com




                                            16

       Case 2:18-cv-00799-WED Filed 05/24/18 Page 16 of 16 Document 1
